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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MARJORIE M. GILLESPIE, et al.,

Plaintiffs,
NO. 3:15-CV-00950
Vv.
JUDGE CAPUTO
LORI DRING AND NANCY ASARO, |

Defendants.

DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

ROSENN, JENKINS & GREENWALD, LLP

ROBERT N. GAWLAS JR., ESQUIRE
Atty. I.D. No. 46608

GARRY S. TAROLI, ESQUIRE
Atty. I.D. No. 30159

ROBERT L. GAWLAS, ESQUIRE
Atty. I.D. No. 323299

15 South Franklin Street
Wilkes-Barre, PA 18711-0075
rgawlas@rjglaw.com

(570) 826-5654 — telephone

(570) 706-3436 — facsimile

DECOTIHS, FITZPATRICK, COLE & GIBLIN, LLP
MICHAEL PROFITA

Attorneys for Defendants,
Lori Dring and Nancy Asaro

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Attorneys for Defendants,
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DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

Defendants, LORI DRING and NANCY ASARO (“Dring/Asaro”), through
their attorneys, Rosenn, Jenkins & Greenwald, LLP and Michael Profita, Esquire,
submit the instant Brief in support of their Motion for Summary Judgment pursuant
to Fed. R. Civ. 56 and Local Rule of Court 56.1.

I. INTRODUCTION

Defendants seek judgment in their favor and against Plaintiffs (“Property
Owners”) on all claims asserted in Plaintiffs’ Amended Complaint. Plaintiffs’ claim
that Defendants breached the Settlement Agreement at issue fails as a matter of law,
because Dring/Asaro have not received the instruments of conveyance they were
entitled to pursuant to the Settlement Agreement and, therefore, are not obligated to
convey a quit claim deed to Ariel Land Owners, (“ALO”) subject to a permanent
easement in favor of the Property Owners.

Plaintiffs’ claim to prescriptive easements over the West Shore Strip also fails
as a matter of law, as Plaintiffs have released Dring/Asaro from any claims relating
to the West Shore Strip except those provided for in the Settlement Agreement. Even
had they not released their claims, Plaintiffs have failed to establish easements by

prescription by virtue of the doctrine of adverse possession under Pennsylvania law.

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YW. RELEVANT PROCEDURAL HISTORY

After Defendants’ Motion to Dismiss (Doc. 6) was granted in part and denied
in part (Doc. 16), Plaintiffs filed an Amended Complaint (Doc. 22). Defendants
filed their Answer, Affirmative Defenses and Counterclaim (Doc. 25) and Plaintiffs
filed their Answer to Defendant’s Counterclaim (Doc. 26). The pleadings are now
closed and discovery has been completed, except for the exchange of expert reports.

WI. RELEVANT FACTUAL BACKGROUND

Defendants incorporate by reference paragraphs 1 through 52 of their
Statement of Undisputed Material Facts (hereinafter as “S.F. __”), which was filed
in conjunction with Defendants’ Motion for Summary Judgment in accordance with
Local Rule of Court 56.1.

IV. STATEMENT OF QUESTIONS PRESENTED

1. Whether Defendants are entitled to summary judgment because they did
not breach the Settlement Agreement?

SUGGESTED ANSWER: YES

2. Whether Plaintiffs have released Defendants from all claims relating to the
West Shore Strip other than those provided for in the Settlement Agreement?

SUGGESTED ANSWER: YES

3. Whether Plaintiffs have failed to establish the requirements for prescriptive
easements over the West Shore Strip?

SUGGESTED ANSWER: YES

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Vv. ARGUMENT

A. Legal Standard

Summary judgment should be granted “if the pleadings, depositions, answers
to interrogatories, and admissions on file, together with the affidavits, if any, show
that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” Fed. R.Civ.P. 56(c); Celotex Corporation

v. Catrett, 477 U.S. 317, 322 (1986); Norfolk Southern Railway Company v. Basell

USA Inc., 512 F.3d 86, 91 (3d Cir. 2008). An issue is “genuine” only if the evidence
is such that a reasonable jury could find in favor of the party opposing the motion.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 257 (1986); Equimark Commercial

Finance Co. v. C.LT. Financial Services Corp., 812 F.2d 141, 144 (3d Cir. 1987). A

fact is “material” only if it might affect the outcome of the case under governing law.

Anderson, 477 U.S. at 248; Levendos v. Stern Entertainment, Inc., 860 F.2d 1227,

1233 (3d Cir. 1988).

The moving party has the initial burden of demonstrating the absence of a
genuine issue of material fact. Celotex, 477 U.S. at 323. Once it does so, the non-
moving party must present affirmative evidence to defeat a properly supported
motion for summary judgment. Anderson, 477 U.S. at 256-57. The party resisting
the motion cannot successfully rely upon mere assertions, conclusory allegations, or

suspicions. Gans v. Mundy, 762 F.2d 338, 341 (3d Cir. 1985), cert. denied, 474 U.S.

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1010 (1985); Ness v. Marshall, 660 F.2d 517, 519 (3d Cir. 1981). “Where the record

taken as a whole could not lead a rational trier of fact to find for the non-moving

party, there is no ‘genuine issue for trial.’” Scott v. Harris, 550 U.S. 372, 380 (2007)

(quoting Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-

87 (1986)). “The mere existence of some alleged factual dispute between the parties
will not defeat an otherwise properly supported motion for summary judgment, the
requirement is that there be no genuine issue of material fact.” Anderson, 477 U.S.
at 247-248 (emphasis added).
The record in this case demonstrates that there is no genuine issue of material
fact and that Defendants are entitled to judgment as a matter of law.
B.  Dring/Asaro Have Not Received the Instruments of Conveyance
They Were Entitled to and, Therefore, Are Not Obligated_to

Deliver a Quit Claim Deed Subject to a Permanent Easement in
Favor of Plaintiffs.

To successfully maintain a cause of action for breach of contract, Plaintiffs
must establish: (1) the existence of a contract, including its essential terms; (2) a
breach of a duty imposed by the contract; and (3) resultant damages. McShea v.

City of Philadelphia, 606 Pa. 88, 97, 995 A.2d 334, 340 (2010); McCausland _v.

Wagner, 78 A.3d 1093, 1101 (Pa. Super. 2013). Here, Count I alleges that
Defendants breached the Settlement Agreement by “fail[ing] to transfer the
easement to [the Property Owners] as required by the Settlement Agreement.” See

Am. Compl. at ¥ 34.

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However, the Settlement Agreement does not require Dring/Asaro to convey
an easement directly to the Property Owners. Instead, Dring/Asaro’s obligation was
to convey to ALO a quit claim deed subject to an easement in favor of the Property
Owners under Section 3. This obligation never arose, because Dring/Asaro did not
receive the instruments of conveyance they were entitled to pursuant to Section 5 of
the Settlement Agreement.

As admitted by the Property Owners’ counsel (who signed the Settlement
Agreement and the Amendment on behalf of the Property Owners), the intention of
Section 3 was that the easement in favor of the Property Owners was to be created
in the quit claim deed to be delivered to ALO, and all of the deeds and instruments
provided for in the Settlement Agreement were to be exchanged, at the same time,
pursuant to Section 15. (S.F. §§ 3 through 5, 9 through 14). An attorney’s statement
made within the scope of his authority is an admission by the party he represents.

See U.S. v. Catena, 500 F.2d 1319, 1327 (3d Cir. 1974); Feld v. Primus Technologies

Corp., 97 Fed. R. Evid. Serv. 777, 2015 WL 2357082 (M.D. 2015). See also Fed. R.
Evid. 801(d)(2)(D). (A statement offered against the party and made by the party’s
agent or employee on a matter within the scope of that relationship and while it
existed is admissible against the party). Even if the Settlement Agreement did
provide for the conveyance of an easement directly to the Property Owners,

however, it would still be subject to the terms of the Section 15.

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Section 5 required ALO to execute and deliver to Dring/Asaro instruments of
conveyance, in recordable form, transferring to Dring/Asaro four lake rights and a
permanent easement over a parcel of Cardinal Lane identified as the “Dock Area.”
In Section 5(b) of the Settlement Agreement, ALO warranted to Dring/Asaro that it
had good and marketable title to the Dock Area at Cardinal Lane, and the right to
grant the required easement to Dring/Asaro.

However, ALO never had good and marketable title to Cardinal Lane and has
failed to convey the permanent easement provided for at Section 5. (S.F. 9¥ 15
through 35; Exhibit “5,” Affidavit of R. Anthony Waldron, Esquire).

The undisputed material facts of record demonstrate that, contrary to its
representations and warranties in Section 5(b) of the Settlement Agreement, ALO
never had good and marketable title to the Dock Area at Cardinal Lane nor the right
to grant Defendants the easement over the Dock Area on Cardinal Lane as required
by the Settlement Agreement, because the Cardinal Lane parcel had been conveyed
to Salvatore and Elly Culotta prior to ALO’s purported purchase of it in 2004 and
prior to execution of the Settlement Agreement. (S.F. J 17 through 29; Exhibit “5,”
Waldron Affidavit). ALO’s President and its Treasurer, both of whom have been
members of the Board of Directors since at least 2004, admitted in their deposition
testimony that ALO could not warrant that it has good and marketable title to

Cardinal Lane. (S.F. J§ 27, 28; Exhibits “9” and “10”). Moreover, ALO, in its

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verified complaints against Michael Lehutsky, Esquire and Robert Swingle, has
admitted that Swingle did not, in fact, own Cardinal Lane when it was purportedly
conveyed by him to ALO on January 12, 2004. (S.F. 4§ 24, 29; Exhibits “5” and

“11”). Tops Apparel Mfg. Co. v. Rothman, 430 Pa. 583, 588, 244 A.2d 436, 438-

39 n.9 (1968); Linefsky v. Redevelopment Auth. of City of Philadelphia, 698 A.2d

128, 133-34 (Pa. Cmwlth. 1997) (facts judicially admitted in one proceeding are
admissible as evidential admissions in another proceeding).

In July of 2014, Dring/Asaro’s counsel demanded adequate assurances that
ALO had good and marketable title to the Cardinal Lane parcel and the ability to
convey to Plaintiffs the easement over the Dock Area required by Section 5. (S.F.
q{ 30; Exhibit “12”). As no adequate assurances were forthcoming, Dring/Asaro’s
counsel scheduled a time of the essence closing on November 18, 2014 for the
exchange of the deeds and other instruments required to be mutually exchanged
pursuant to Section 15. However, ALO and the Property Owners failed to appear at
the closing, and ALO did not tender the instruments of conveyance required by
Section 5 of the Settlement Agreement. (S.F. J§ 31 through 34; Exhibit “13”).

Because of ALO’s failure to tender a conveyance of the Cardinal Lane
easement to Dring/Asaro, they are under no obligation to convey the quit claim deed
to ALO, which would be subject to a permanent easement in favor of the Property

Owners, although Dring/Asaro were ready, willing, and able to do so.

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C, Plaintiffs’ Release of Dring/Asaro Bars Their Claim for
Prescriptive Easements.

Pursuant to Section 6 of the Settlement Agreement, the Property Owners
released Dring/Asaro from any and all claims arising out of or relating to the Western
Shore Strip. (S.F. § 6; Exhibit “1”). While Plaintiffs’ claim for breach of the
Settlement Agreement in Count I was not released, the claim in Count II for
prescriptive easements over the West Shore Strip has been released. Therefore,
Count II of the Amended Complaint must be dismissed.

Releases are construed according to traditional principles of contract law and
a release’s effect is to be determined by the ordinary meaning of its language. Black

v. Jamison, 913 A.2d 313, 318 (Pa. Cmwlth. 2006); Davis ex rel. Davis v.

Government Employees Ins. Co., 775 A.2d 871, 875 (Pa. Super. 2001). A release is

governed by the intention of the parties, which must be gathered from the language

of the release. Three Rivers Motors Co. v. Ford Motor Co., 522 F.2d 885, 892 (d

Cir. 1975), citing Evans v. Marks, 421 Pa. 146, 218 A.2d 802 (1966). A release is

binding upon the parties unless it was procured by fraud, duress, accident, or mutual

mistake. Three Rivers Motors Co., Id., citing Kent v. Fair, 392 Pa. 272, 140 A.2d

445 (1958); Black v. Jamison, Id.; Wastak v. Lehigh Valley Health Network, 342

F.3d 281 (3d Cir. 2003); Davis ex rel. Davis, Id. Where the parties manifest an intent

to settle all claims, the release will be given full effect even as to unknown claims.

Three Rivers Motors Co., 522 F.2d at 896; A.G. Cullen Const. Inc. v. State System

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of Higher Educ., 898 A.2d 1145, 1168 (Pa. Cmwlth. 2006), disapproved on other

grounds by A. Scott Enterprises, Inc. v. City of Allentown, 636 Pa. 249, 142 A.3d

779 (2016),

In this case, only the rights and obligations of the parties under the Settlement
Agreement are excepted from the terms of the release let forth at Section 6 of the
Settlement Agreement. Accordingly, Plaintiffs have released Dring/Asaro from any
and all claims arising out of or related to the West Shore Strip, including their claims
for prescriptive easements.

D. Plaintiffs Have Failed to Establish the Requirements for a
Prescriptive Easement Over the West Shore Strip.

“A prescriptive easement is created by (1) adverse, (2) open, (3) notorious, (4)
continuous and uninterrupted use for a period of twenty-one (21) years.” Walley v.

Iraca, 520 A.2d 886, 889 (Pa. Super. 1987); see also Waltimyer v. Smith, 556 A.2d

912, 913-14 (Pa. Super. 1989). A prescriptive easement must be proven by clear

and positive evidence. Pittsburgh & L.E. R. Co. v. Stowe Twp., 374 Pa. 54, 96 A.2d

892 (1953).

1. Plaintiffs have not established that their use of the West Shore Strip was
adverse or continuous,

To establish a prescriptive easement, the use must not only have been enjoyed
without interruption for twenty-one years, but must have been adverse. Shinn v.

Rosenberger, 347 Pa. 504, 32 A.2d 747, 748 (1943). A use is adverse only when one

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uses property “whenever he chooses, over the land of another, without asking leave

and without objection.” Garrett v. Jackson, 20 Pa. 331 (1853). A use is not adverse

if it is the result of some lease, license, indulgence, or special contract. Margolin v.

Pa. R.R. Co., 403 Pa. 195, 168 A.2d 320, 322 (1961); Flannery v. Stump, 786 A.2d

255, 258-59 (Pa. Super. 2001).
“TC]Jontinuity is established if the evidence shows a settled course of conduct

indicating an attitude of mind on the part of the user or users that the use is the

exercise of a property right.” Keefer v. Jones, 467 Pa. 544, 359 A.2d 735, 737 (1976).

Here, Plaintiffs’ use of the West Shore Strip cannot be adverse or continuous,
because it was with permission granted to them by ALO. In that regard, the Property
Owners’ counsel has admitted that, as of the negotiation and execution of the
Settlement Agreement, the Property Owners had been using the lake, including the

West Shore Strip, with the permission of ALO. (S.F. § 40; Exhibit “3”). See Catena,

supra; Feld, supra; Fed. R. Evid. 801(d)(2)(D). This testimony is confirmed by the
deeds and leases which have been produced by some of the Property Owners in
discovery. (S.F. 49 42 through 47; Exhibits “19” and “20”).

The Property Owners could not possibly have “an attitude of mind ... that the
use is the exercise of a property right” when they were using the West Shore Strip
with the permission of ALO (despite ALO’s lack of ownership over the West Shore

Strip, ALO and the Property Owners believed that ALO had the right to grant

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permission to use it). Use of the property only with the permission of another is
wholly incompatible with a claim to a right to the property.

Plaintiffs’ use of the West Shore Strip cannot be adverse or continuous, as it
was under a “license, indulgence, or special contract inconsistent with a claim of
right.” Accordingly, Plaintiffs’ claim for a prescriptive easement over the Strip fails
as a matter of law.

2. Plaintiffs have not established that their use of the property was
continuous for the statutory time period.

The Pennsylvania Supreme Court has found that “the casual use of a lake
during a few months each year for boating and fishing could not develop into a title

to such privileges by prescription.” Loughran v. Matylewicz, 367 Pa. 593, 81 A.2d

879, 882 (1951), citing Miller y. Lutheran Conference & Camp Ass’n, 331 Pa. 241,

200 A. 646, 650 (1938).

In this case, the undisputed facts of record demonstrate that Plaintiffs’ uses of
the property were casual and seasonal, involving primarily sporadic boating, fishing,
and swimming uses in the summer months. (S.F. 9 45 through 52).

For instance, Plaintiffs broadly assert that “West Shore property owners have
used the area of the West Shore Strip for various water related recreational activities,
including docks, boating, fishing, swimming, water sports, ice fishing, and ice

skating. This use has been on a regular basis.” Partial Answer to Interrogatory No.

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9. However, this Answer was not signed by any Plaintiff, and no specific
information was provided as to any of the Property Owners.

In Plaintiffs’ Supplemental Answers to Interrogatories, more individualized
responses were provided by only some of the Plaintiffs, which again were not signed
by any of the Plaintiffs. Some, but not all, of the Plaintiffs alleged using the Strip
for occasional summer uses, including boating, kayaking, fishing, swimming, and
watersports. Moreover, most of the Plaintiffs did not allege any winter use of the
Strip, indicating that the Strip was almost exclusively during warm months on
occasional uses for vacations.

However, a majority of the Plaintiffs failed to identify any use of the Strip, let
alone any continuous use. (S.F. § 46). Several others merely alleged that the Strip
was used for “warm and cold weather recreational purposes,” or for “recreational
purposes,” without any explanation regarding the alleged use. (S.F. at {J 47, 48).
None of these Plaintiffs have alleged or proven a continuous use of the Property.

Of the Plaintiffs who did provide the uses of their property, Marjorie
Gillespie; Thomas Gillespie; William Hinz; Kathleen Dempsey; Gerard Dempsey;
Robert Dempsey; Richard Redling; and Joan Redling only provided occasional use
of the Strip during summer months. (S.F. J 49). Additionally, Henry and Cynthia
Lempicky alleged only summer uses of the Strip, and alleged the winter use of

skating only since 1998. (S.F. J 52).

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Similarly, Richard Gaylord, William A. Albright, Peter Dicenso, and Lee
Conaboy Dicenso only alleged the construction of a dock on their respective
properties, but fail to allege the location of the dock or any use of the Strip. (S.F. §
50). Ronald Smith only alleges that he maintained his property, and did not provide
any actual uses of the Strip. (S.F. 7 51).

Furthermore, most of the “evidence” of uses of the Strip in Plaintiffs’
discovery responses is in the form of photographs of the Plaintiffs using the lake.
However, this can hardly be used as evidence of a continuous use of the property.
Instead, a photograph necessarily captures a single moment, and is not proof that the
Strip was used continuously, as required to establish a prescriptive easement.

Because the undisputed material facts demonstrate that Plaintiffs’ uses of the
West Shore Strip were merely casual and occasional, the Pennsylvania Supreme
Court decisions in Loughran and Miller dictate that Plaintiffs’ uses could not be
considered continuous. Therefore, Plaintiffs’ claim for a prescriptive easement over
the Strip fails as a matter of law.

3. Plaintiffs cannot tack their use of the property onto their alleged
predecessor’s uses.

In order to perfect a prescriptive easement, the use must be uninterrupted for

a period of twenty-one years. Matakitis v. Woodmansee, 667 A.2d 228, 231 (Pa.

Super. 1995). “A landowner may ‘tack’ the period of use by his predecessor in title

onto his own period in order to establish continuous possession for the required

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twenty-one years.” McCormick v. Camp Pocono Ridge, Inc. II, 781 F. Supp. 328,

332 (M.D. Pa. 1991), citing Lednak v. Swatsworth, 33 D. & C.3d 535, 537-38

(1984). Tacking is only permissible where privity exists between the adverse
possessors by the sale of the property by each owner to his successor. Id.
However, in order to tack the years of a predecessor in interest to reach the

21-year requirement, there must be language in the deed conveying the inchoate

property rights. The Pennsylvania Supreme Court, in Baylor v. Soska, 540 Pa. 435,
658 A.2d 743, 745 (1995), held that “whenever a grantor seeks to convey an inchoate
claim of adverse possession, what is required is a reference to the disputed tract or
to the grantor’s inchoate right.” The Court explained:

There is good reason for this requirement. Interested
parties have a right to discern from the record the state of
the title of any parcel of land. If tacking were to be
permitted because of vague, undefined “circumstances,”
there could and most likely would be no way for one not a
party to the conveyance to know this. But the law
mandates that a person asserting a claim of adverse
possession make this assertion openly and notoriously to
all the world. There must be no secret that the adverse
possessor is asserting a claim to the land in question.

Id. “[A] deed describing boundary lines confines the premises conveyed to the area
within the boundaries, and such a deed does not convey inchoate rights acquired by
incompleted adverse possession. Each predecessor must have claimed title to the

property in dispute, and have purported to include it.” Watkins v. Watkins, 775 A.2d

841, 846-47 (Pa. Super. 2001).

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As is the case with adverse possession, a person seeking to establish a
prescriptive easement must make this assertion openly and notoriously to all the
world, as open and notorious are also elements for establishing a prescriptive

easement. See Walley v. Iraca, supra; Waltimyer v. Smith, supra. In fact, the

elements of creating the two property interests are identical. Therefore, the

reasoning applies to both adverse possession and prescriptive easements.

Indeed, the Superior Court has recently decided, in Ocirne, Inc. v. New Tees

Co., L.P., 2014 WL 10979686, a copy of which is attached as Exhibit “A,” that the

Baylor decision applies to inchoate prescriptive easement rights. The Ocirne court
affirmed a trial court’s decision that the Baylor decision applies as equally to
prescriptive easements as it does to adverse possession, holding:

In Baylor v. Soska, ... the Supreme Court held that
whenever a grantor seeks to convey an inchoate claim of
adverse possession, what is required is a reference to the
disputed tract or to the grantor’s inchoate right ... The
above principles and the reasoning upon which they are
based should be equally applicable to tacking prescriptive
easement claims or rights. Provco has failed to present any
evidence that previous owners specifically conveyed or
intended to convey any inchoate prescriptive easement
rights when they conveyed the properties to Provco.

Ocirne, Inc. at *4-5. The Superior Court proceeded to affirm this reasoning, ruling,

“Talbsent objective indicia of record from which we can discern adverse use that has

been passed on to Provco as successor in title, the court properly decided Provco

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cannot tack its prior owners’ use of the New Tees property to meet the requisite time
to establish a prescriptive easement.” Id. at *5.

Most of the Plaintiffs have not even produced the deeds to their properties
(S.F. § 41) and, therefore, have failed to establish that they have owned their
properties and used the Strip for the required twenty-one (21) years. Several other
Plaintiffs provided deeds establishing that they purchased their properties less than
21 years ago. (S.F. at § 43, 44). None of these Property Owners provided the deeds
of their predecessors in interest for purposes of tacking, did not establish that their
predecessors used the property in the same manner, and did not establish a
conveyance of any inchoate prescriptive easement claims. (S.F. ¥ 41 through 45).

None of the deeds or leases that have been produced and are annexed as
exhibits to the Statement of Undisputed Material Facts include language that
demonstrates the predecessor-in-interest’s intent to convey any inchoate prescriptive
easement rights in the West Shore Strip. In fact, many of the Plaintiffs have not even
provided their deeds to determine whether the required language is present.
Therefore, Pennsylvania case law and the undisputed facts of record require that
Plaintiffs claims for prescriptive easement over the Strip fail as a matter of law.

VI. CONCLUSION

For the reasons set forth above, as well as in Defendants’ Motion for Summary

Judgment and Statement of Undisputed Material Facts, Defendants respectfully

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request that this Honorable Court enter judgment in their favor and against Plaintiffs,

and damages to Defendants in an amount to be determined at trial, including

reasonable attorney’s fees and expenses pursuant to Section 14 of the Settlement

Agreement, in an amount to be determined after hearing scheduled by the Court.

BY:

Respectfully submitted,
ROSENN, JENKINS & GREENWALD, LLP

/S/ROBERT N. GAWLAS, JR.
ROBERT N. GAWLAS JR., ESQUIRE
Atty. I.D. No. 46608

GARRY S. TAROLI, ESQUIRE
Atty. I.D. No. 30159

ROBERT L. GAWLAS, ESQUIRE
Atty. I.D. No. 323299

15 South Franklin Street
Wilkes-Barre, PA 18711-0075
rgawlas@rjglaw.com
gtaroli@rjglaw.com

(570) 826-5654 — telephone

(570) 706-3436 — facsimile

DECOTIIS, FITZPATRICK, COLE & GIBLIN, LLP

MICHAEL PROFITA

500 Frank W. Burr Blvd., Suite 31
Teaneck, NJ 07666

Telephone: 201-928-1100

Fax: 201-928-0588
MProfita@DeCotiislaw.com

Attorneys for Defendants,
Lori Dring and Nancy Asaro

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